                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              DOCKET NO.: 3:95-CR-105

 UNITED STATES OF AMERICA,                            )
                      Plaintiff,                      )
                                                      )
 vs.                                                  )       ORDER
                                                      )
                                                      )
 RYAN O'NEIL LITTLE,                                  )
                                 Defendant.           )


                            ORDER TO AUTHORIZE PAYMENT
                            FROM INMATE TRUST ACCOUNT

        Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Motion of United States of America to Authorize Payment from Inmate

Trust Account (Doc. No. 169) is GRANTED.

        It is, therefore, ORDERED, that:

        1.     The Bureau of Prisons is authorized to turn over funds in the amount of $3,341.99

to the Office of the United States District Court, Clerk of Court for the Western District of North

Carolina located at 401 West Trade Street, Charlotte, North Carolina 28202, and the Clerk of Court

shall accept said funds currently held in the trust account for the inmate listed below:

               Ryan O'Neil Little
               Register Number: 12027-058

        2.     The Clerk shall apply the funds in the amount of $3,341.99 as payment for the

criminal monetary penalties owed by the Defendant in this case.




                                   Signed: December 1, 2021




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